    Case 3:23-cr-00026-MEM    Document 411    Filed 04/12/24     Page 1 of 31




                 UNITED STATES DISTRICT COURT
               MIDDLE DISTRICT OF PENNSYLVAMA

UNITtrD STATES OF AMERICA               No. 3:23-CR-26

           v                            (Judge MANNION)

FATItrEM GRADY,                         (electronically filed)
                        Defendant.

                          PLEAAGREEMENT

     The following PIea Agreement is entered by the United States

Attorney for the Middle District of Pennsylvania and the above-

captioned defendant. Any reference to the United States or to the

Government in this Agreement shall mean the Office of the United

States Attorney for the Middle District of Pennsylvania.

A. Violation(s). Penalties. and Dismissal of Other Counts

    1. Guiltv plea. The defendant agrees to plead guilty to Count 1 of
       the Indictment, which charges the defendant with a violation of

       Title 21, United States Code, $ 846(a), Conspiracy to Distribute

        Controlled Substances. The maximum penalty for that offense

       is imprisonment for a period of 20 years, a fine of $1,000,000, a

        maxirnum term of supervised release of life but a minimum of at

        least 3 years, which shall be served at the conclusion of, and in
Case 3:23-cr-00026-MEM    Document 411    Filed 04/12/24   Page 2 of 31




   addition to, any term of imprisonment, as well as the costs of

   prosecution, imprisonment, probation, or supervised release

   ordered, denial of certain federal benefits, and an assessment in

   the amount of $100. At the time the guilty plea is entered, the

   defendant shall admit to the Court that the defendant is, in fact,

   guilty of the offense(s) charged in that count. After sentencing,

   the United States will move for dismissal of any remaining

   counts of the Indictment. The defendant agrees, however, that

   the United States ffi&y, at its sole election, reinstate any

   dismissed charges, or seek additional charges, in the event that

   any guilty plea entered or sentence imposed pursuant to this

   Agreement is subsequently vacated, set aside, or invalidated by

   any court. The defendant further agrees to waive any defenses

   to reinstatement of any charges, or to the filing of additional

   charges, based upon laches, the assertion of speedy trial rights,

   any applicable statute of limitations, or any other ground. The

   calculation of time under the Speedy Trial Act for when trial

   must commence is tolled as of the date of the defendant's
                                2
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 3 of 31




    signing of this Agreement, until either (a) the defendant pleads

   guilty; or (b) a new date is set by the Court for commencement

   of trial.

2. Term of Supervised Release The defendant understands that
   the Court must impose at least a 3'year term of supervised

   release but up to a lifetime of supervised release in addition to

   any term of imprisonment, fine or assessment involving this

   violation of the Controlled Substances Act. The defendant also

   understands that the Court may impose a term of supervised

   release following any sentence of imprisonment exceeding one

   year, or when required by statute. The Court may require a

   term of supervised release in any other case. In addition, the

   defendant understands that as a condition of any term of

   supervised release or probation, the Court must order that the

   defendant cooperate in the collection of a DNA sample if the

   collection of a sample is so authonzed by law.

3. Maximum Sentencq. The defendant understands that the total,
   maximum possible sentence for all charges is the combination of
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   Case 3:23-cr-00026-MEM    Document 411    Filed 04/12/24   Page 4 of 31




       penalties described abovei that is, 20 years in prison, fines

       totaling $1,000,000, a maximum lifetime of supervised release

       but at least 3 years, the costs of prosecution, denial of certain

       federal benefits and an assessment totaling $100

   4. No Further Pra,qeeution, Except Tax Charses. The United
       States Attorney's Office for the Middle District of Pennsylvania

       agrees that it will not bring any other criminal charges against

       the defendant directly arising out of the defendant's

       involvement in the offense(s) described above. However,

       nothing in this Agreement will limit prosecution for criminal tax

       charges, if any, arising out of those offenses

B. Fines and Assessments
   5. Fine. The defendant understands that the Court may impose a
      fine pursuant to the Sentencing Reform Act of 1984. The willful

      failure to pay any fine imposed by the Court, in ful1, may be

       considered a breach of this Plea Agreement. F urther, the

       defendant acknowledges that willful failure to pay the fine may

       subject the defendant to additional criminal violations and civil
                                    4
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 5 of 31




   penalties pursuant to Title 18, United States Code, $ 3611, et

   seq

6. Inmate Financial Responsibility Program. If the Court orders a
   fine or restitution as part of the defendant's sentence, and the

   sentence includes a term of imprisonment, the defendant agrees

   to voluntarily enter the United States Bureau of Prisons-

   administered program known as the Inmate Financial

   Responsibility Program, through which the Bureau of Prisons

   will collect up to 50% of the defendant's prison salary, and up to

   50% ofthe balance of the defendant's inmate account, and apply

   that amount on the defendant's behalf to the payment of the

   outstanding fine and restitution orders.

7. Special Assessment. The defendant understands that the Court
   will impose a special assessment of $100, pursuant to the
   provisions of Title 18, United States Code, S 3013. No later

   than the date of sentencing, the defendant or defendant's

   counsel shall mail a check in payment of the special assessment

   directly to the Clerk, United States District Court, Middle
                               5
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 6 of 31




    District of Pennsylvania. If the defendant intentionally fails to

    make this payment, that failure may be treated. as a breach of

   this PIea Agreement and may result in further prosecution, the

   filing of additional criminal charges, or a contempt citation.

8. Collection of Financial Oblisations. In order to facilitate the
   collection of financial obligations imposed in connection with

   this case, the defendant consents and agrees

   a   to fully disclose all assets in which the defendant has an

       interest or over which the defendant has control, directly or

       indirectly, including those held by a spouse, nominee, or

       other third partyi

   b. to submit to interviews by the Government regarding the
       defendant's financial status i

   C   to submit a complete, accurate, and truthful financial

       statement, on the form provided by the Government, to the

       United States Attorney's Office no later than 14 days

       following entry of the guilty pleai


                                6
    Case 3:23-cr-00026-MEM     Document 411   Filed 04/12/24   Page 7 of 31




       d. whether represented by counsel or not, to consent to contact
           by and communication with the Government, and to waive

           any prohibition against communication with a represented

           party by the Government regarding the defendant's

           financial statusi

       e. to authorrze the Government to obtain the defendant's
           credit reports in order to evaluate the defendant's ability to

           satisfy any financial obligations imposed by the Courti and

       f. to submit any financial information requested by the
           Probation Office as directed, and to the sharing of financial

           information between the Government and the Probation

           Office.

C. Sente4cing Guidelines Calculation
   I   Determination of Sentencing Guidelines. The defendant and

       counsel for both parties agree that the United States Sentencing

       Commission Guidelines, which took effect on November 1, 1987,

       and its amendments (the "sentencing Guidelines"), will apply to

       the offense or offenses to which the defendant is pleading guilty.
                                    7
Case 3:23-cr-00026-MEM    Document 411    Filed 04/12/24   Page 8 of 31

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   The defendant understands that the Sentencing Guidelines are

   advisory and not binding on the Court. The defendant further

   agrees that any legal and factual issues relating to the

   application of the Sentencing Guidelines to the defendant's

   conduct, including facts to support any specific offense

   characteristic or other enhancement or adjustment and the

   appropriate sentence within the statutory maximums provided

   for by law, will be determined by the Court after briefing, a pre-

   sentence hearing, or a sentencing hearing

10. Acceotance of Resnonsi   ilitv- Two/Three Levels. If the
   defendant can adequately demonstrate recognition and

   affirmative acceptance of responsibility to the Government as

   required by the Sentencing Guidelines, the Government will

   recommend that the defendant receive a two- or three-level

   reduction in the defendant's offense level for acceptance of

   responsibility. The third level, if applicable, shal1 be within the

   discretion of the Government under tl.S.S.G. $ 381.1. The



                                8
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 9 of 31




   failure of the Court to find that the defendant is entitled to a

   reduction shall not be a basis to void this Agreement.

11. Specific Sentencing Guidelines Recommendations. With respect

   to the application of the Sentencing Guidelines to the

   defendant's conduct, the parties agree to recommend as follows:

      a. For purposes of the U.S.S.G., the parties agree
          that the defendant is responsible for the
          distribution of, and possession with intent to
          distribute, at least 280 grams but less than 400
          grams of fentanyl, a Schedule II controlled
          substance.

   Each party reserves the right to make whatever remaining

   arguments it deems appropriate with regard to application of

   the United States Sentencing Commission Guidelines to the

   defendant's conduct. The defendant understands that any

   recommendations are not binding upon either the Court or the

   United States Probation Office, which may make different

   findings as to the application of the Sentencing Guidelines to

   the defendant's conduct. The defendant further understands

   that the United States will provide the Court and the United

                               I
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 10 of 31




    States Probation Office all information in its possession that it

    deems relevant to the application of the Sentencing Guidelines

    to the defendant's conduct.

12. Appropriate Sentence Recommendation. At the time of

    sentencing, the United States may make a recommendation

   that it considers appropriate based upon the nature and

   circumstances of the case and the defendant's participation in

   the offense, and specifically reserves the right to recommend a

   sentence up to and including the maximum sentence of

   imprisonment and fine allowab1e, together with the cost of

   prosecution

13. Special Conditions of ProbatiorVSupervised Release. If

   probation or a term of supervised release is ordered, the United

   States may recommend that the Court impose one or more

   special conditions, including but not limited to the following:

   a   The defendant be prohibited from possessing a firearm or

       other dangerous weapon



                                  10
Case 3:23-cr-00026-MEM     Document 411    Filed 04/12/24   Page 11 of 31




    b. The defendant make restitution, if applicable, the payment
         of which shall be in accordance with a schedule to be

         determined by the Court.

    C.   The defendant pay any fine imposed in accordance with a

         schedule to be determined by the Court.

    d. The defendant be prohibited from incurring new credit
         charges or opening additional lines of credit without

         approval of the Probation Office unless the defendant is in

         compliance with the payment schedule

   e     The defendant be directed to provide the Probation Office

         and the United States Attorney access to any requested

         financial inform ation.

   f. The defendant be confined in a community treatment
         center, halfway house, or similar facility.

   g. The defendant be placed under home confinement
   h. The defendant be ordered to perform community service



                                   11
Case 3:23-cr-00026-MEM      Document 411   Filed 04/12/24   Page 12 of 31




    I    The defendant be restricted from working in certain types of

         occupations or with certain individuals if the Government

         deems such restrictions to be appropriate.

    j.   The defendant be directed to attend substance abuse

         counseling, which may include testing to determine whether

         the defendant is using drugs or alcohol.

    k. The defendant be directed to attend psychiatric or
         psychological counseling and treatment in a program

         approved by the Probation Officer.

    I. The defendant be denied certain federal benefits including
         contracts, grants, Ioans, fellowships, and licenses.

    m. The defendant be directed to pay any state or federal taxes
         and file any and all state and federal tax returns as

         required by law.

14. Destruction OrderAMaivers. The defendant further agrees,

    should the United States deem it appropriate to the destruction

    of the items seized during the course of the investigation. The

    defendant agrees that the items may be destroyed by the
                                  t2
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 13 of 31




    investigative agency with or without a court order authorizing

    the destruction of the items seized. If the United States

    determines that a destruction order should be obtained, the

    defendant and defendant's counsel hereby concur in a motion for

    such an order. The defendant further agrees to waive all

    interest in the assets in any administrative or judicial forfeiture

    proceeding, whether criminal or civil, state, or federal. The

    defendant consents and waives all rights to compliance by the

    United States with any applicable deadlines under 18 U.S.C. $

    983(d. Any related administrative claim filed by the defendant

    is hereby withdrawn. The defendant agrees to consent to the

    entry of orders of forfeiture for such property and waives the

    requirements of Federal Rules of Criminal Procedure 32.2 and

     S(a) regarding notice of the forfeiture in the charging

    instrument, announcement of the forfeiture at sentencing, and

    incorporation of forfeiture in the judgment




                                13
   Case 3:23-cr-00026-MEM     Document 411    Filed 04/12/24   Page 14 of 31




D. Victims'Rights and Restitution
   15. Victims' Rights. The defendant understands that pursuant to

       the Victim and Witness Protection Act, the Crime Victims'

       Rights Act, the Justice for AIl Act, and the regulations

       promulgated under those Acts by the Attorney General of the

       United States, crime victims have the following rights:

       cL.   The right to be reasonably protected from the accusedi

       b. The right to reasonable, accurate, and timely notice of any
             public court proceeding or any parole proceeding involving

             the crime, or of any release or escape of the accusedi

       C.    The right not to be excluded from any such public court

             proceeding, unless the Court, after receiving clear and

             convincing evidence, determines that testimony by the

             victim would be altered materially if the victim heard other

             testimony at that proceedingi

      d. The right to be reasonably heard at any public hearing in
             the Court involving release, plea, sentencing, or any parole

             proceeding. The defendant understands that the victims'
                                     74



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Case 3:23-cr-00026-MEM      Document 411   Filed 04/12/24   Page 15 of 31




        comments and recommendations at any of these proceedings

        may be different than those of the parties to this

        Agreementi

    e   The reasonable right to confer with the attorney for the

        Government in the case. The defendant understands that

        the victims'opinions and recommendations given to the

        attorney for the Government may be different than those

        presented by the United States as a consequence of this

        Agreementi

    f. The right to full and timely restitution as provided for by
        law. The attorney for the Government is required to "fully

        advocate the rights of victims on the issue of restitution

        unless such advocacy would unduly prolong or complicate

        the sentencing proceeding," and the Court is authorized to

        order restitution by the defendant including, but not limited

        to, restitution for property loss, economic loss, personal

        injury, or deathi

    g. The right to proceedings free from unreasonable delayi and
                                  15
Case 3:23-cr-00026-MEM    Document 411     Filed 04/12/24   Page 16 of 31




    h. The right to be treated with fairness and with respect for
        the victim's dignity and privacy

16. Restitution. The defendant acknowledges that, pursuant to the

    Mandatory Restitution Act of Aprrl24, 1996, Title 18, United

    States Code, $ 3663A, the Court is required in all instances to

    order ful1 restitution to all victims for the losses those victims

    have suffered as a result of the defendant's conduct. The

    defendant also agrees that the Government will seek, and the

    Court may impose an order of restitution as to victims of the

    defendant's relevant conduct. With respect to the payment of

    restitution, the defendant further agrees that, as part of the

    sentence in this matter, the defendant shall be responsible for

    making payment of restitution in full, unless the defendant can

    demonstrate to the satisfaction of the Court that the defendant's

   economic circumstances do not allow for the payment of full

   restitution in the foreseeable future, in which case the

   defendant will be required to make partial restitution

   payments. In addition to the schedule of payments that may be
                                16
Case 3:23-cr-00026-MEM   Document 411     Filed 04/12/24   Page 17 of 31




    established by the Court, the defendant understands and agrees

    that, pursuant to the Mandatory Victims Restitution Act of

    1996 and the Justice For AIl Act of 2004, victims of federal

    crimes are entitled to full and timely restitution. As such, these

    payments do not preclude the Government from using other

    assets or income of the defendant to satisfy the restitution

   obligation. The defendant understands and agrees that the

   United States Attorney's Office, by and through the Financial

   Litigation Unit, has the obligation and the right to pursue any

   Iegal means, including but not Iimited to, submission of the debt

   to the Treasury Offset Program, to collect the full amount of

   restitution owed to the victims in a timely fashion. Although

   the defendant may reserve the right to contest the amount of

   restitution owed, the defendant agrees to take all steps to

   facilitate collection of all restitution, including submitting to

   debtor's exams as directed by the Government. Towards this

   goal, the defendant agrees to waive any further notice of

   forfeiture and agrees that the United States ffi&y, at its sole
                                17
Case 3:23-cr-00026-MEM   Document 411     Filed 04/12/24   Page 18 of 31




    election, elect to pursue civil or criminal forfeiture in the

    amount of the victim restitution owed in this case, and the

    Court may enter both a restitution order and a forfeiture

    judgment in the amount of any unpaid restitution found by the

    Court to be due and owing at the time of sentencing in this

    matter. The defendant consents to the filing of any civil

    complaint or superseding information which may be necessary

    to perfect a forfeiture order and further stipulates and agrees

    that the defendant's guilty plea constitutes an admission to all

    matters legally and factually necessary for entry of a forfeiture

    order in this case. The parties agree that the Government will

    recommend, but cannot guarantee, that any assets recovered

    through forfeiture proceedings be remitted to crime victims to

    reduce the defendant's restitution obligation in this case. The

    defendant acknowledges that the making of any payments does

    not preclude the Government from using other assets or income

    of the defendant to satisfy the restitution obligation. The

    defendant understands that the amount of restitution
                                 18
   Case 3:23-cr-00026-MEM    Document 411   Filed 04/12/24   Page 19 of 31




       calculated for purposes of Chapter 5 of the Sentencing

       Guidelines might be different from the amount of loss calculated

       for purposes of Chapter 2 of the Sentencing Guidelines.

   17. FuIl Restitution blz Schedule. The defendant agrees to make

       full restitution in accordance with a schedule to be determined

       by the Court.

E. Information Provided to Court and Probation Office
   18. Backsround Information for Probation Office. The defendant

       understands that the United States will provide to the United

       States Probation Office all information in its possession that the

       United States deems relevant regarding the defendant's

       background, character, cooperation, if any, and involvement in

       this or other offenses.

   19. Obiections to Pre-Sentence Re port. The defendant understands

       that pursuant to the United States District Court for the Middle

       District of Pennsylvania's "Policy for Guideline Sentencing,"

       both the United States and defendant must communicate to the

       Probation Officer within 14 days after disclosure of the pre-
                                   19
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 20 of 31




    sentence report any objections they may have as to material

    information, sentencing classifications, applicable Sentencing

    Guidelines ranges, and policy statements contained in or

    omitted from the report. The defendant agrees to meet with the

    Ilnited States at least five days prior to sentencing in a good

    faith attempt to resolve any substantive differences. If any

    issues remain unresolved, they shall be communicated to the

    Probation Officer for inclusion in an addendum to the pre-

    sentence report. The d.efendant agrees that unresolved

    substantive objections will be decided by the Court after

    briefing, a pre-sentence hearing, or at the sentencing hearing,

    where the standard or proof will be a preponderance of the

    evidence, and the Federal Rules of Evidence, other than with

    respect to privileges, shall not apply under Fed. R. Evid.

    1101(d)(3), and the Court may consider any reliable evidence,

    including hearsay. objections by the defendant to the pre-

    sentence report or the Court's rulings, will not be grounds for

    withdrawal of a plea of guilty.
                                20
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 21 of 31




20. Relevant Sentencins Information. At sentencing, the United

    States will be permitted to bring to the Court's attention, and

    the Court wiII be permitted to consider, all relevant information

    about the defendant's background, character and conduct,

    including the conduct that is the subject of the charges that the

    United States has agreed to dismiss, and the nature and extent

    of the defendant's cooperation, if any. The United States will be

    entitled to bring to the Court's attention and the Court will be

    entitled to consider any failure by the defendant to fulfill any

    obligation under this Agreement.

21. Non-Limitation on Government's Response. Nothing in this

    Agreement shall restrict or limit the nature or content of the

    United States' motions or responses to any motions filed on

    behalf of the defendant. Nor does this Agreement in any way

    restrict the Government in responding to any request by the

    Court for briefing, argument or presentation of evidence

    regarding the application of sentencing Guidelines to the



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  Case 3:23-cr-00026-MEM      Document 411     Filed 04/12/24   Page 22 of 31




         defendant's conduct, including but not limited to, requests for

         information concerning possible sentencing departures.

F. Court Not Bound by Plea Agreement
   22. Court Not Bo und bv Terms. The defendant understands that

         the Court is not a party to and is not bound by this Agreement,

         or by any recommendations made by the parties. Thus, the

         Court is free to impose upon the defendant any sentence up to

         and including the maximum sentence of 20 years in prison, a

         maximum fine of $1,000,000, a maximum term of supervised

         release of life but at least 3 years, which shall be served at the

         conclusion of and in addition to any term of imprisonment, the

         costs of prosecution, denial of certain federal benefits, and

         assessments totaling $100.

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   ZJ.               wal of                                                ns.

         If the Court imposes a sentence with which the defendant is

         dissatisfied, the defendant wiII not be permitted to withdraw

         any guilty plea for that reason alone, nor wi1l the defendant be

         permitted to withdraw any guilty plea should the Court decline
                                      22
   Case 3:23-cr-00026-MEM   Document 411     Filed 04/12/24   Page 23 of 31




       to follow any recommendations by any of the parties to this

       Agreement.

G. Breach of Plea Agtreement by Defendant
   24. Breach of Agleegr€nt. In the event the United States believes

       the defendant has failed to fulfill any obligation under this

       Agreement, then the United States shall, in its discretion, have

       the option of petitioning the Court to be relieved of its

       obligations under this Agreement. Whether the defendant has

       completely fulfilled all of the obligations under this Agreement

       shall be determined by the Court in an appropriate proceeding,

       during which any disclosures and documents provided by the

       defendant shall be admissible, and during which the United

       States shall be required to establish any breach by a

       preponderance ofthe evidence. In order to establish any breach

      by the defendant, the United States is entitled to rely on

      statements and evidence given by the defendant during the

      cooperation phase of this Agreement, if any



                                   23
Case 3:23-cr-00026-MEM    Document 411   Filed 04/12/24   Page 24 of 31




 25. Remedies for Breach. The defendant and the United States

    agree that in the event the Court concludes that the defendant

    has breached the Agreementl

    a    The defendant will not be permitted to withdraw any guilty

         plea tendered under this Agreement and agrees not to

         petition for withdrawal of any guilty pleai

    b. The United States will be free to make any
         recommendations to the Court regarding sentencing in this

         C&S€r


    C.   Any evidence or statements made by the defendant during

         the cooperation phase of this Agreement, if any, will be

         admissible at any trials or sentencingsi

    d. The United States will be free to bring any other charges it
         has against the defendant, including any charges originally

         brought against the defendant or which may have been

         under investigation at the time of the p1ea. The defendant

         waives and hereby agrees not to raise any defense to the

         reinstatement of these charges based upon collateral
                                24
Case 3:23-cr-00026-MEM   Document 411   Filed 04/12/24   Page 25 of 31




        estoppel, Double Jeopardy, statute of limitations, assertion

        of Speedy Trial rights, or other similar grounds.

26. Violation of Law While PIea or Sentence Pendins. The

    defendant understands that it is a condition of this Agreement

    that the defendant refrain from any further violations of state,

    local, or federal law while awaiting plea and sentencing. The

    defendant acknowledges and agrees that if the Government

    receives information that the defendant has committed new

    crimes while awaiting plea or sentencing in this case, the

    Government may petition the Court and, if the Court finds by a

    preponderance of the evidence that the defendant has

    committed any other criminal offense while awaiting plea or

    sentencing, the Government shall be free at its sole election to

    either: (d withdraw from this Agreementi or (b) make any

    sentencing recommendations to the Court that it deems

    appropriate. The defendant further understands and agrees

    that, if the Court finds that the defendant has committed any

    other offense while awaiting plea or sentencing, the defendant
                               25
   Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 26 of 31




       will not be permitted to withdraw any guilty pleas tendered
       pursuant to this Agreernent, and the government will be

       permitted to bring any additional charges that it may have

       against the defendant.

H. Deportation
   27 . D eportation/Removal from the United States. The defendant


       understands that, if defendant is not a United States citizen,

       deportation/removal from the United States is a consequence of

       this plea. The defendant further agrees that this matter has

       been discussed with counsel who has explained the immigration

       consequences of this plea. The defendant still desires to enter

       into this plea after having been so advised.

I. Appeal Waiver
   28. Appeal Waiver - Direct. The defendant is aware that Title 28,

       united states code, $ 1291 affords a defendant the right to

       appeal a judgment of conviction and sentencei and that Title 1g,

       United States Code, g 37aZG) affords a defendant the right to

       appeal the sentence imposed. Acknowledging all of this, the
                                  26
   Case 3:23-cr-00026-MEM       Document 411   Filed 04/12/24   Page 27 of 31




        defendant knowingly waives the right to appeal the conviction

        and sentence. This waiver includes any and all possible

        grounds for appeal, whether constitutional or non-

        constitutional, including, but not limited to, the manner in

        which that sentence was determined in light of United States v.

        Booker,543 U.S. 220 e}Ail. The defendant further

        acknowledges that this appeal waiver is binding only upon the

        defendant and that the United States retains its right to appeal

        in this case.

J. Other Provisions
   29. Asreement Not Bin           on Other Aqencies     Nothing in this

        Agreement shall bind any other United States Attorney's Office,

        state prosecutor's office, or federal, state, or local law

        enforcement agency.

   30                     orS      . The defendant agrees not to pursue or
        initiate any civil claims or suits against the United States of

        America, its agencies or employees, whether or not presently

        known to the defendant, arising out of the investigation,
                                      27
Case 3:23-cr-00026-MEM    Document 411     Filed 04/12/24   Page 28 of 31




    prosecution or cooperation, if any, covered by this Agreement,

    including but not limited to any claims for attorney's fees and

    other litigation expenses arising out of the investigation and

    prosecution of this matter. By the defendant's guilty plea in

    this matter the defendant further acknowledges that the

    Government's position in this litigation was taken in good faith,

    had a substantial basis in law and fact and was not vexatious.

31. PIea Agreement Serves Ends of Justice. The United States is

    entering this Agreement with the defendant because this

    disposition of the matter fairly and adequately addresses the

    gravity of the offense(s) from which the charge(s) is/are drawn,

    as well as the defendant's role in such offense(s), thereby

    serving the ends of justice.

32. Merser of AII Prior Ne         tions This document states the

    complete and only Agreement between the united states

   Attorney for the Middle District of Pennsylvania and the

   defendant in this case, and is binding only on the parties to this

   Agreement and supersedes all prior understandings or plea
                                   28
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 29 of 31




    offers, whether written or oral. This agreement cannot be

    modified other than in writing that is signed by a1l parties or on

    the record in court. No other promises or inducements have

    been or will be made to the defendant in connection with this

    case, nor have any predictions or threats been made in

    connection with this plea. Pursuant to Rule 11 of the F ederal

    Rules of Criminal Procedure, the defendant certifies that the

    defendant's plea is knowing and voluntary and is not the result

    of force or threats or promises apart from those promises set

    forth in this Agreement.

33. IJefendant is Satisfied with Assistance of Counsel. The

    Defendant agrees that the defendant has discussed this case

    and this Agreement in detail with the defendant's attorney, who

    has advised the defendant of the defendant's Constitutional and

    other trial and appellate rights, the nature of the charges, the

    elements of the offenses the United States would have to prove

    at trial, the evidence the United States would present at such

    trial, possible defenses, the advisory Sentencing Guidelines and
                                29
Case 3:23-cr-00026-MEM   Document 411    Filed 04/12/24   Page 30 of 31




    other aspects of sentencing, potential losses of civil rights and

    privileges, and other potential consequences of pleading guilty

    in this case. The defendant agrees that the defendant is

    satisfied with the legal services and advice provided to the

    defendant by the defendant's attorney.

34. Deadline for Acceptance of Plea Agreement. The original of this

    Agreement must be signed by the defendant and defense

    counsel and received by the United States Attorney's Office on

    or before 5:00 p.m., September 8, 2023, otherwise the offer ffi&y,

    in the sole discretion of the Government, be deemed withdrawn.

35. Required Sienatures. None of the terms of this Agreement shall

    be binding on the Office of the United States Attorney for the

    Middle District of Pennsylvania until signed by the defendant

    and defense counsel and then signed by the United States

    Attorney or his designee.




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     Case 3:23-cr-00026-MEM              Document 411   Filed 04/12/24   Page 31 of 31




                                       ACKNOWLEDGMENTS

      I have read this agreement and carefully reviewed every part of it
 with my attorney. I fully understand it and I voluntarily agree to it.

  ul-n -zvl
 Date
                                              4L.-*,a:A
                                              FhTIEEffi
                                              Defendant


        I am the defendant's counsel. I have carefully reviewed every part
 of this agreement with the defendant. To my knowledge, my client's
 decision to enter into this agree                      informed                  one.
Ll \a lr-q
 Date                                         CURT PARKINS, ESQUIRE
                                              Counsel for Defendant




                                              GERARD M. KARAM
                                              United States Attorney

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Date                                                                           otes\ T O
                                              Assistant United States Attorney


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